2/14/23, 3:08 PM          Case MDL No. 3076 Document 2-8 CAND-ECF
                                                         Filed 02/15/23 Page 1 of 31
                                                                                                            ADRMOP,RELATE

                                                U.S. District Court
                                    California Northern District (San Francisco)
                                 CIVIL DOCKET FOR CASE #: 3:22-cv-07336-JSC


 Lam v. Bankman-Fried                                                               Date Filed: 11/20/2022
 Assigned to: Judge Jacqueline Scott Corley                                         Jury Demand: Plaintiff
 Demand: $5,000,000                                                                 Nature of Suit: 370 Other Fraud
 Relate Case Cases: 3:22-cv-07444-JSC                                               Jurisdiction: Diversity
                    3:22-cv-07620-JSC
                    3:22-cv-07666-JSC
                    3:23-cv-00024-JSC
 Cause: 28:1332 Diversity-Fraud
 Plaintiff
 Elliott Lam                                                          represented by William M. Audet
 individually and on behalf of all others                                            Audet & Partners, LLP
 similarly situated                                                                  711 Van Ness Avenue
                                                                                     Suite 500
                                                                                     San Francisco, CA 94102-3229
                                                                                     415-568-2555
                                                                                     Fax: 415.568-2556
                                                                                     Email: waudet@audetlaw.com
                                                                                     LEAD ATTORNEY
                                                                                     ATTORNEY TO BE NOTICED

                                                                                    Kurt David Kessler
                                                                                    Audet & Partners LLP
                                                                                    711 Van Ness Avenue
                                                                                    Suite 500
                                                                                    San Francisco, CA 94102-3275
                                                                                    4155682555
                                                                                    Email: kkessler@audetlaw.com
                                                                                    ATTORNEY TO BE NOTICED

                                                                                    Laurence D. King
                                                                                    Kaplan Fox & Kilsheimer LLP
                                                                                    1999 Harrison Street, Suite 1560
                                                                                    Oakland, CA 94612
                                                                                    (415) 772-4700
                                                                                    Fax: (415) 772-4707
                                                                                    Email: lking@kaplanfox.com
                                                                                    ATTORNEY TO BE NOTICED

                                                                                    Ling Yue Kuang
                                                                                    Audet & Partners, LLP
                                                                                    711 Van Ness Avenue, Suite 500
                                                                                    San Francisco, CA 94102
                                                                                    415-568-2555
                                                                                    Fax: 415-568-2556

https://ecf.cand.uscourts.gov/cgi-bin/DktRpt.pl?993588354547092-L_1_0-1                                                1/6
2/14/23, 3:08 PM          Case MDL No. 3076 Document 2-8 CAND-ECF
                                                         Filed 02/15/23 Page 2 of 31
                                                                Email: lkuang@audetlaw.com
                                                                ATTORNEY TO BE NOTICED

                                                                                  Robert Lawrence Lieff
                                                                                  PO Drawer A
                                                                                  Rutherford, CA 94573
                                                                                  415-250-4800
                                                                                  Email: rlieff@lieff.com
                                                                                  ATTORNEY TO BE NOTICED
 Plaintiff
 Julie Papadakis                                                      represented by Laurence D. King
                                                                                     (See above for address)
                                                                                     ATTORNEY TO BE NOTICED

                                                                                  Todd M. Logan
                                                                                  Edelson PC
                                                                                  150 California Street, 18th Floor
                                                                                  San Francisco, CA 94111
                                                                                  (415) 212-9300
                                                                                  Fax: (415) 373-9435
                                                                                  Email: tlogan@edelson.com
                                                                                  ATTORNEY TO BE NOTICED
 Plaintiff
 Russell Hawkins                                                      represented by Laurence D. King
                                                                                     (See above for address)
                                                                                     ATTORNEY TO BE NOTICED


 V.
 Defendant
 Sam Bankman-Fried

 Defendant
 Caroline Ellison
 Defendant
 Golden State Warriors, LLC


 V.
 Movant
 Michael Elliott Jessup                                               represented by Laurence D. King
                                                                                     (See above for address)
                                                                                     ATTORNEY TO BE NOTICED

                                                                                  Todd M. Logan
                                                                                  (See above for address)
                                                                                  ATTORNEY TO BE NOTICED

 Movant

https://ecf.cand.uscourts.gov/cgi-bin/DktRpt.pl?993588354547092-L_1_0-1                                               2/6
2/14/23, 3:08 PM  Case MDL No. 3076 Document 2-8 CAND-ECF
                                                  Filed 02/15/23 Page 3 of 31
 Stephen T Pierce                         represented by Marshal Hoda
                                                         The Hoda Law Firm, PLLC
                                                         12333 Sowden Road, Suite B, PMB 51811
                                                         Houston, TX 77080
                                                         (832) 848-0036
                                                         Email: marshal@thehodalawfirm.com
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

                                                                                  Laurence D. King
                                                                                  (See above for address)
                                                                                  ATTORNEY TO BE NOTICED
 Movant
 Julie Chon Papadakis                                                 represented by Laurence D. King
                                                                                     (See above for address)
                                                                                     ATTORNEY TO BE NOTICED


  Date Filed            #    Docket Text
  11/21/2022             1 COMPLAINT Class Action Complaint against all Defendants. Filed by Elliott Lam
                           (Attachments: # 1 Civil Cover Sheet)(Audet, William) (Filed on 11/21/2022) Modified on
                           11/21/2022 (far, COURT STAFF). (Entered: 11/21/2022)
  11/21/2022                 Electronic filing error. Filing fee not paid. Please pay the filing fee through Pay.gov by
                             clicking on Civil > Other Documents > New Case Filing Fee in CM/ECF. [err701] Re:[ 1]
                             Complaint filed by Elliot Liam, Golden State Warriors (ark, COURT STAFF) (Filed on
                             11/21/2022) (Entered: 11/21/2022)
  11/21/2022             2 FEE PAID (Filing fee$402,receipt number ACANDC-17744783). (Audet, William) (Filed
                           on 11/21/2022) Modified on 11/21/2022 (far, COURT STAFF). (Entered: 11/21/2022)
  11/21/2022             3 Case assigned to Magistrate Judge Donna M. Ryu.

                             Counsel for plaintiff or the removing party is responsible for serving the Complaint or
                             Notice of Removal, Summons and the assigned judge's standing orders and all other new
                             case documents upon the opposing parties. For information, visit E-Filing A New Civil
                             Case at http://cand.uscourts.gov/ecf/caseopening.

                             Standing orders can be downloaded from the court's web page at
                             www.cand.uscourts.gov/judges. Upon receipt, the summons will be issued and returned
                             electronically. A scheduling order will be sent by Notice of Electronic Filing (NEF) within
                             two business days. Consent/Declination due by 12/5/2022. (ark, COURT STAFF) (Filed on
                             11/21/2022) (Entered: 11/21/2022)
  11/21/2022             4 Initial Case Management Scheduling Order with ADR Deadlines: Case Management
                           Statement due by 2/22/2023. Initial Case Management Conference set for 3/1/2023
                           01:30 PM in Oakland, Courtroom 4, 3rd Floor. (far, COURT STAFF) (Filed on
                           11/21/2022) (Entered: 11/21/2022)
  11/22/2022             5 CONSENT/DECLINATION to Proceed Before a US Magistrate Judge by Elliott Lam..
                           (Audet, William) (Filed on 11/22/2022) (Entered: 11/22/2022)
  11/23/2022             6 CLERK'S NOTICE of Impending Reassignment to U.S. District Judge (This is a text-only
                           entry generated by the court. There is no document associated with this entry.) (ig,

https://ecf.cand.uscourts.gov/cgi-bin/DktRpt.pl?993588354547092-L_1_0-1                                                   3/6
2/14/23, 3:08 PM          Case MDL No. 3076 Document 2-8 CAND-ECF
                                                              Filed 02/15/23 Page 4 of 31
                           COURT STAFF) (Filed on 11/23/2022) (Entered: 11/23/2022)
  11/25/2022             7 ORDER REASSIGNING CASE. Case reassigned using a proportionate, random, and
                           blind system pursuant to General Order No. 44 to Judge Jacqueline Scott Corley for
                           all further proceedings. Magistrate Judge Donna M. Ryu no longer assigned to case.
                           Notice: The assigned judge participates in the Cameras in the Courtroom Pilot
                           Project. See General Order No. 65 and http://cand.uscourts.gov/cameras.Signed by
                           The Clerk on 11/25/2022. (Attachments: # 1 Notice of Eligibility for Video Recording)
                           (jrs, COURT STAFF) (Filed on 11/25/2022) (Entered: 11/25/2022)
  11/28/2022             8 CLERK'S NOTICE RESCHEDULING INITIAL CASE MANAGEMENT
                           CONFERENCE. Joint Case Management Statement due by 2/23/2023. Initial Case
                           Management Conference reset for 3/2/2023 at 1:30 p.m. before Judge Jacqueline Scott
                           Corley via a Zoom webinar.

                             Webinar Access: All counsel, members of the public, and media may access the webinar
                             information at https://www.cand.uscourts.gov/jsc

                             Court Appearances: Ad vanced notice is required of counsel or parties who wish to be
                             identified by the court as making an appearance or will be participating in the argument at
                             the hearing. A list of names must be sent to the CRD at jsccrd@cand.uscourts.gov no
                             later than noon on 3/1/2023.

                             General Order 58. Persons granted access to court proceedings held by telephone or
                             videoconference are reminded that photographing, recording, and rebroadcasting of court
                             proceedings, including screenshots or other visual copying of a hearing, is absolutely
                             prohibited.

                             Zoom Guidance and Setup: https://www.cand.uscourts.gov/zoom/.

                             (ahm, COURT STAFF) (Filed on 11/28/2022) (Entered: 11/28/2022)
  12/12/2022             9 ADMINISTRATIVE MOTION To Consider Whether Cases Should Be Related filed by
                           Elliott Lam. Responses due by 12/16/2022. (Attachments: # 1 Declaration Of Kurt D.
                           Kessler In Support Of Administrative L.R. 7-11 Motion To Consider Whether Cases
                           Should Be Related, # 2 Exhibit 1, # 3 Exhibit 2, # 4 Exhibit 3, # 5 Exhibit 4, # 6 Proposed
                           Order, # 7 Certificate/Proof of Service)(Audet, William) (Filed on 12/12/2022) (Entered:
                           12/12/2022)
  12/13/2022           10 Proposed Summons. (Audet, William) (Filed on 12/13/2022) (Entered: 12/13/2022)
  12/14/2022           11 OPPOSITION/RESPONSE (re 9 ADMINISTRATIVE MOTION To Consider Whether
                          Cases Should Be Related ) filed byMichael Elliott Jessup. (Logan, Todd) (Filed on
                          12/14/2022) (Entered: 12/14/2022)
  12/15/2022                 Electronic filing error. ONLY ONE SUMMONS TO BE ISSUED PER CASE, USE AN
                             ATTACHMENT TO SUMMONS IF NEEDED TO LIST ADDITIONAL DEFENDANTS
                             INFORMATION [err201]This filing will not be p rocessed by the clerks office.Please re-
                             file in its entirety. Re: 10 Proposed Summons filed by Elliott Lam (far, COURT STAFF)
                             (Filed on 12/15/2022) (Entered: 12/15/2022)
  12/15/2022           12 Proposed Summons. (Audet, William) (Filed on 12/15/2022) (Entered: 12/15/2022)
  12/16/2022           13 Summons Issued as to Sam Bankman-Fried, Caroline Ellison, Golden State Warriors, LLC.
                          (far, COURT STAFF) (Filed on 12/16/2022) (Entered: 12/16/2022)
  12/16/2022           14 OPPOSITION/RESPONSE (re 9 ADMINISTRATIVE MOTION To Consider Whether
                          Cases Should Be Related ) filed byStephen T Pierce. (Hoda, Marshal) (Filed on
https://ecf.cand.uscourts.gov/cgi-bin/DktRpt.pl?993588354547092-L_1_0-1                                                    4/6
2/14/23, 3:08 PM          Case MDL No. 3076 Document 2-8 CAND-ECF
                                                             Filed 02/15/23 Page 5 of 31
                           12/16/2022) (Entered: 12/16/2022)
  12/19/2022           15 ORDER RELATING CASE. Signed by Judge Jacqueline Scott Corley on 12/19/2022.

                             (22-cv-7444, 22-cv-7620, and 22-cv-7666 are related to this action.)

                             (ahm, COURT STAFF) (Filed on 12/19/2022) Modified on 12/19/2022 (ahm, COURT
                             STAFF). (Entered: 12/19/2022)
  12/19/2022           16 CLERK'S NOTICE CONTINUING INITIAL CASE MANAGEMENT
                          CONFERENCE. Please take notice that the case management conference set for March 2,
                          2023 is continued to April 6, 2023 at 1:30 p.m. before Judge Jacqueline Scott Corley via a
                          Zoom webinar. Joint Case Management Statement is due by 3/30/2023.

                             Webinar Access: All counsel, members of the public, and media may access the webinar
                             information at https://www.cand.u scourts.gov/jsc

                             Court Appearances: Advanced notice is required of counsel or parties who wish to be
                             identified by the court as making an appearance or will be participating in the argument at
                             the hearing. A list of names must be sent to the CRD at jsccrd@cand.uscourts.gov no
                             later than noon 4/5/2023.

                             General Order 58. Persons granted access to court proceedings held by telephone or
                             videoconference are reminded that photographing, recording, and rebroadcasting of court
                             proceedings, including screenshots or other visual copying of a hearing, is absolutely
                             prohibited.

                             Zoom Guidance and Setup: https://www.cand.uscourts.gov/zoom/ .

                             (This is a text-only entry generated by the court. There is no document associated with this
                             entry.)

                             (ahm, COURT STAFF) (Filed on 12/19/2022) (Entered: 12/19/2022)
  01/04/2023           17 ADMINISTRATIVE MOTION To Relate pursuant to Local Rule 3-12 & 7-11 filed by
                          Julie Chon Papadakis. Responses due by 1/9/2023. (Attachments: # 1 Declaration of
                          Laurence D. King in Support of Administrative Motion to Consider Whether Cases Should
                          be Related Pursuant to Civil Local Rules 3-12 and 7-11, # 2 Exhibit 1 to the Declaration of
                          Laurence D. King, # 3 Exhibit 2 to the Declaration of Laurence D. King, # 4 Exhibit 3 to
                          the Declaration of Laurence D. King, # 5 Exhibit 4 to the Declaration of Laurence D.
                          King, # 6 Exhibit 5 to the Declaration of Laurence D. King, # 7 Proposed Order, # 8
                          Certificate/Proof of Service)(King, Laurence) (Filed on 1/4/2023) (Entered: 01/04/2023)
  01/10/2023           18 ORDER by Judge Jacqueline Scott Corley granting (17) Administrative Motion to
                          Relate in case 3:22-cv-07336-JSC. 23-cv-0024 is related to this action. (ahm, COURT
                          STAFF) (Filed on 1/10/2023) (Entered: 01/10/2023)
  02/02/2023           19 MOTION to Consolidate Cases , MOTION to Appoint Counsel filed by Michael Elliott
                          Jessup, Elliott Lam, Stephen T Pierce, Julie Papadakis, Russell Hawkins. Motion Hearing
                          set for 3/9/2023 10:00 AM before Judge Jacqueline Scott Corley. Responses due by
                          2/16/2023. Replies due by 2/23/2023. (Attachments: # 1 Declaration of William M. Audet,
                          # 2 Exhibit 1, # 3 Exhibit 2, # 4 Exhibit 3, # 5 Exhibit 4, # 6 Exhibit 5, # 7 Exhibit 6, # 8
                          Exhibit 7, # 9 Proposed Order)(King, Laurence) (Filed on 2/2/2023) (Entered: 02/02/2023)
  02/03/2023           20 CERTIFICATE OF SERVICE by Julie Papadakis re 19 MOTION to Consolidate Cases
                          MOTION to Appoint Counsel (Logan, Todd) (Filed on 2/3/2023) (Entered: 02/03/2023)


https://ecf.cand.uscourts.gov/cgi-bin/DktRpt.pl?993588354547092-L_1_0-1                                                     5/6
2/14/23, 3:08 PM          Case MDL No. 3076 Document 2-8 CAND-ECF
                                                         Filed 02/15/23 Page 6 of 31

                                                        PACER Service Center
                                                             Transaction Receipt
                                                               02/14/2023 12:08:06
                                   PACER
                                                     AdamMoskoadam Client Code:       FTX
                                   Login:
                                                                          Search      3:22-cv-07336-
                                   Description:      Docket Report
                                                                          Criteria:   JSC
                                   Billable Pages: 5                      Cost:       0.50




https://ecf.cand.uscourts.gov/cgi-bin/DktRpt.pl?993588354547092-L_1_0-1                                6/6
           Case
            Case3:22-cv-07336-JSC
                 MDL No. 3076 Document
                                  Document
                                       2-8 1 Filed
                                              Filed02/15/23
                                                    11/21/22 Page
                                                              Page7 1ofof3125




 1   William M. Audet (CA SBN 117456)
     Ling Y. Kuang (CA SBN 296873)
 2   Kurt D. Kessler (CA SBN 327334)
       waudet@audetlaw.com
 3     lkuang@audetlaw.com
       kkessler@audetlaw.com
 4   AUDET & PARTNERS, LLP
       711 Van Ness Avenue, Suite 500
 5     San Francisco, CA 94102-3275
       Telephone: (415) 568-2555
 6     Facsimile: (415) 568-2556
 7   Robert L. Lieff (CA SBN 037568)
      rlieff@lieff.com
 8    P.O. Drawer A
      Rutherford, California 94573
 9
     Edward LEHMAN (IL SBN 6194489)*
10     elehman@lehmanlaw.com
     Jacob BLACKLOCK (TX SBN 24079835)*
11     jblacklock@lehmanlaw.com
     LEHMAN, LEE & XU LLC (Saipan #25977-001-1)
12     c/o LEHMAN, LEE & XU
       Suite 3313, Tower One, Times Square
13     1 Matheson Street, Causeway Bay, Hong Kong
       Telephone: (852) 3588-2127
14     Facsimile: (852) 3588-2088
15   Counsel for Plaintiff Elliott Lam, individually
     and on behalf of all others similarly situated
16
                                     UNITED STATES DISTRICT COURT
17                                  NORTHERN DISTRICT OF CALIFORNIA
                                        SAN FRANCISCO DIVISION
18
      ELLIOTT LAM, individually                         Case No:
19    and on behalf of all others similarly situated,
                                                        CLASS ACTION COMPLAINT
20                           Plaintiff,
21           v.                                         JURY TRIAL DEMAND

22    SAM BANKMAN-FRIED, CAROLINE
      ELLISON, and GOLDEN STATE
23    WARRIORS, LLC,
24
                             Defendants.
25

26
27

28

                                                        0
                                           CLASS ACTION COMPLAINT
              Case
               Case3:22-cv-07336-JSC
                    MDL No. 3076 Document
                                     Document
                                          2-8 1 Filed
                                                 Filed02/15/23
                                                       11/21/22 Page
                                                                 Page8 2ofof3125



 1                                                             TABLE OF CONTENTS
 2   NATURE OF ACTION ........................................................................................................................ 2
 3   PARTIES .............................................................................................................................................. 5
 4
     JURISDICTION & VENUE ................................................................................................................. 5
 5
     FACTUAL ALLEGATIONS ............................................................................................................... 6
 6

 7      I.     THE RISE OF FTX ....................................................................................................................... 6

 8      II. THE FALL OF FTX ...................................................................................................................... 8

 9      III. ALAMEDA RESEARCH AND THE QUESTIONABLE ROLE IT HAD IN FTX’S COLLAPSE ................... 9

10      IV. YIELD-BEARING ACCOUNTS (YBAS) AND VIOLATIONS OF LAW .............................................. 11

11      V. LEVERAGING INTERNATIONAL REACH OF GOLDEN STATE WARRIORS TO MARKET FTX’S

12      PLATFORM AND SERVICES ............................................................................................................... 12

13   CLASS ALLEGATIONS ................................................................................................................... 13

14      I.     CLASS DEFINITION(S) ............................................................................................................... 13
15      II. REQUIREMENTS OF RULE 23(A) MET........................................................................................ 14
16           A.      Numerosity ........................................................................................................................ 14
17           B.      Commonality and Predominance ...................................................................................... 15
18           C.      Typicality........................................................................................................................... 15
19           D.      Adequacy ........................................................................................................................... 15
20           E.      Superiority ......................................................................................................................... 16
21      III. REQUIREMENTS OF RULE 23(B)(3) MET ................................................................................... 16
22      IV. REQUIREMENTS OF RULE 23(B)(2) MET ................................................................................... 17
23      V. REQUIREMENTS OF RULE 23(C)(4) MET ................................................................................... 17
24   CAUSES OF ACTION ....................................................................................................................... 18
25
     PRAYER FOR RELIEF ..................................................................................................................... 23
26
     JURY TRIAL DEMAND ................................................................................................................... 23
27

28
                                                                     –1–
                                                            CLASS ACTION COMPLAINT
           Case
            Case3:22-cv-07336-JSC
                 MDL No. 3076 Document
                                  Document
                                       2-8 1 Filed
                                              Filed02/15/23
                                                    11/21/22 Page
                                                              Page9 3ofof3125



 1          ELLIOTT LAM, by and through undersigned counsel, brings this action on behalf of
 2   himself and on behalf of all others similarly situated (“Plaintiff” and the “Class”) against SAM
 3   BANKMAN-FRIED, CAROLINE ELLISON, and GOLDEN STATE WARRIORS, LLC,
 4   (together, “Defendants”). Plaintiff make the following allegations based on personal knowledge of
 5   the facts pertaining to themselves and on information and belief upon investigation that is
 6   reasonable as to all other matters. Plaintiff alleges as follows:
 7                                          NATURE OF ACTION
 8          1.      An “unprecedented” situation has occurred involving fraud and deceit at a scale
 9   rarely seen – causing billions of dollars in value and financial equity to ostensibly disappear
10   overnight.
11          2.      FTX Trading LTD d/b/a FTX’s (“FTX”) and West Realm Shires Services Inc. d/b/a
12   FTX US’s (“FTX US”) (collectively, the “FTX Entities”), was collectively valued at over $32
13   billion at one recent point and was known for offering and selling unregistered securities in the
14   form of yield-bearing accounts (“YBAs”) to residents of the United States and other countries
15   around the world.
16          3.      The FTX Entities imploded in early November when they filed for bankruptcy in the
17   aftermath of a seemingly massive and nearly unprecedented liquidity crisis. The FTX Entities, and
18   its billionaire co-founder and Defendant herein, Sam Bankman-Fried, are reportedly now under
19   investigation by the US Department of Justice and the Securities and Exchange Commission for
20   severely mismanaging billions of dollars in client funds. When FTX’s troubles drew more and more
21   headlines and customers started taking out funds, the FTX Entities halted withdrawals, and the
22   companies and related entities filed for bankruptcy days later.
23          4.      As a result of this crisis, CEO Bankman-Fried resigned on Nov. 11, and was
24   replaced by John Ray III (“Ray”), who previously oversaw the Enron bankruptcy. On Nov. 17, Ray
25   submitted a filing with the United States Bankruptcy Court, District of Delaware, stating:
26          “Never in my career [over 40 years of legal and restructuring experience] have I seen
            such a complete failure of corporate controls and such a complete absence of
27          trustworthy financial information as occurred here. From compromised systems
            integrity and faulty regulatory oversight abroad, to the concentration of control in the
28
                                                     –2–
                                            CLASS ACTION COMPLAINT
           Case
           Case3:22-cv-07336-JSC
                MDL No. 3076 Document
                                 Document
                                      2-8 1Filed
                                             Filed
                                                 02/15/23
                                                   11/21/22Page
                                                            Page104ofof31
                                                                        25



 1          hands of a very small group of inexperienced, unsophisticated and potentially
            compromised individuals, this situation is unprecedented.”
 2
     In re: FTX TRADING LTD., et al., No. 22-11068-JTD, Dkt. #24 at ¶ 5 (Bankr. D. Del., Nov.
 3
     17, 2022) (emphasis added).
 4
            5.      Ray also published a sprawling, overly complicated organizational chart of FTX’s
 5
     financial and investment empire, offering a glimpse of the maze-like web of legal entities
 6
     Bankman-Fried had created to run his empire. In re: FTX TRADING LTD., et al., No. 22-11068-
 7
     JTD, Dkt. #24 at Ex. B (Bankr. D. Del., Nov. 17, 2022) (“Preliminary Corporate Structure Chart”).
 8
            6.      Nick Mancini, director of research for the crypto data firm Trade the Chain has
 9
     described the complex structure as likely intentional and created to aid Defendant Bankman-Fried’s
10
     misconduct within his companies: “It’s clear Sam [Bankman-Fried] designed the organizational
11
     structure to be intentionally convoluted in order to keep various employees and companies in the
12
     dark about what was happening outside of their specific walled garden within the greater structure.
13
     Reports of fraud, lack of accounting, and special privileges between subsidiaries are examples of
14
     reasons that you would create such an intentionally confusing structure.”1
15
            7.      In addition to using convoluted organizational structures to hide its malfeasance,
16
     reports have started to emerge about how Bankman Fried enabled the secret transfer of $10 billion
17
     from FTX Entities to Alameda Research LLC, Bankman-Fried’s venture-capital and trading firm
18
     affiliate of FTX, and that at least $1 billion of those funds have disappeared.2
19
            8.      Separately, according to paperwork filed by Ray with the U.S. Bankruptcy Court for
20
     the District of Delaware, Alameda Research had $4.1 billion in related-party loans. Among those
21
     were $1 billion to Defendant Bankman-Fried.
22
            9.      The scale of this Ponzi-scheme-like fraud was matched only by the scale of the
23
     publicity campaign employed by Bankman-Fried and the FTX Entities to conjure up an illusion of
24
     financial and corporate success. Flush with money from unwitting investors and seeking to further
25

26
     1
       https://www.yahoo.com/now/ftx-bankruptcy-filing-reveals-remarkably-193200722.html (last
27   accessed: Nov. 20, 2022)
     2
28     https://www.reuters.com/markets/currencies/exclusive-least-1-billion-client-funds-missing-failed-
     crypto-firm-ftx-sources-2022-11-12/ (last accessed: Nov. 20, 2022)
                                                     –3–
                                         CLASS ACTION COMPLAINT
           Case
           Case3:22-cv-07336-JSC
                MDL No. 3076 Document
                                 Document
                                      2-8 1Filed
                                             Filed
                                                 02/15/23
                                                   11/21/22Page
                                                            Page115ofof31
                                                                        25



 1   increase their customer reach, Bankman-Fried and the FTX Entities began signing branding deals
 2   with sports institutions and advertising on television prolifically to entice new customers.
 3           10.    FTX Entities bought the naming rights for the National Basketball Association
 4   (“NBA”) franchise Miami Heat’s stadium, signing a 19-year deal with the team and Miami-Dade
 5   County, Florida, for $135 million. The Mercedes-AMG Petronas Formula 1 team named FTX its
 6   cryptocurrency exchange partner. And a professional e-sports team, TSM, agreed to be paid $210
 7   million from FTX over 10 years to change its name to TSM FTX. The FTX Entities continued to
 8   spend lavishly over the last couple years on nonfungible token (“NFTs”) and crypto partnerships
 9   with teams including the Golden State Warriors and the Washington Capitals. Major League
10   Baseball (“MLB”) and the FTX Entities announced what they were calling a long-term, global
11   partnership deal that came with swag: the umpires would wear patches with the logo of FTX.US.
12   Other sponsorships included the title sponsorships of the first season of MLB Home Run Derby X,
13   and the title sponsorship of the tournaments FTX Road to Miami and FTX Crypto Cup as part of
14   the Champions Chess Tour 2022. In August 2021, it was announced FTX secured naming rights to
15   UC Berkeley’s California Memorial Stadium in a $17.5 million deal. In addition to the naming
16   rights, FTX will receive on-field branding and branding on athletics press backdrops, along with
17   social integration, likely exposing a substantial number of foreign students to FTX Entities’ trading
18   platform, offers of YBAs, and other services. FTX also ran Super Bowl ads to gain U.S. and
19   international exposure for new customers.
20           11.    FTX Entities’ publicity and commercial campaign also involved the personal
21   endorsements of internationally-known celebrity, entertainment, and sports figures through FTX’s
22   own celebrity brand ambassadors. These ‘brand ambassadors,’ used their social media reach and
23   personal brands to induce unsophisticated investors and consumers into a relationship with the FTX
24   Entities.
25           12.    As a result of the willful misconduct alleged above, and in more detail below,
26   Plaintiff brings this action on behalf of himself and the Class seeking to recover damages,
27

28
                                                    –4–
                                           CLASS ACTION COMPLAINT
           Case
           Case3:22-cv-07336-JSC
                MDL No. 3076 Document
                                 Document
                                      2-8 1Filed
                                             Filed
                                                 02/15/23
                                                   11/21/22Page
                                                            Page126ofof31
                                                                        25



 1   declaratory and/or injunctive relief stemming from fraudulent and deceitful conduct of Defendants
 2   and their promotion and marketing of FTX Entities’ trading platform and their YBAs.
 3                                                 PARTIES
 4          13.     Plaintiff Elliott Lam is a citizen of Canada and resident of Hong Kong, China. He is
 5   a natural person over the age of 21. Plaintiff Lam purchased an unregistered security from FTX in
 6   the form of a YBA and funded the account with a sufficient amounts to earn interest on his
 7   holdings. Plaintiff Lam did so after being exposed to some or all of Defendants’ misrepresentations
 8   and omissions regarding the FTX Entities and their related trading platforms as detailed in this
 9   complaint, and executed trades in reliance on those misrepresentations and omissions. As a result,
10   Plaintiff Lam has sustained damages approximated at $750,000.00 for which Defendants are liable.
11          14.     Defendant Sam Bankman-Fried, founder and former CEO of FTX, is a citizen and
12   resident of the Bahamas.
13          15.     Defendant Caroline Ellison is the CEO of Alameda Research, LLC, a trading firm
14   launched by Defendant Sam Bankman-Fried. She oversaw many of the risky bets Alameda took
15   with regard to FTX customers' crypto tokens. Defendant Ellison is a resident of Hong Kong.
16          16.     Defendant Golden State Warriors LLC is a professional basketball team in the NBA
17   that partnered with FTX in 2022, unveiling an FTX logo on the court at its home arena, Chase
18   Center, and is a corporation operating and existing under the laws of the State of California and
19   headquartered in San Francisco, California.
20                                      JURISDICTION & VENUE
21          17.     This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C. §
22   1332(d)(2)(A) because this is a class action for a sum exceeding $5,000,000.00, exclusive of
23   interest and costs, and in which at least one class member is a citizen of a state different than the
24   Defendants.
25          18.     This Court has personal jurisdiction against Defendants because at least one
26   Defendant conducts business in California, and/or have otherwise intentionally availed themselves
27   of the State of California’s consumer market through the promotion, marketing, and sale of FTX’s
28
                                                   –5–
                                          CLASS ACTION COMPLAINT
           Case
           Case3:22-cv-07336-JSC
                MDL No. 3076 Document
                                 Document
                                      2-8 1Filed
                                             Filed
                                                 02/15/23
                                                   11/21/22Page
                                                            Page137ofof31
                                                                        25



 1   YBAs in California, which constitutes committing a tortious act within the state of California.
 2   Defendants have also marketed and participated and/or assisted in the sale of FTX’s unregistered
 3   securities to consumers in California. This purposeful availment renders the exercise of jurisdiction
 4   by this Court over Defendants permissible under traditional notions of fair play and substantial
 5   justice.
 6              19.   Venue is proper in this District under 28 U.S.C. § 1391 because Defendants engaged
 7   in business in this District; a substantial part of the events or omissions giving rise to the claims at
 8   issue occurred in this District; and because Defendants entered into transactions and/or received
 9   substantial profits from those who reside in this District.
10              20.   Alternatively, venue is proper in this District under 28 U.S.C. § 1391(b)(3) as there
11   is no single district in which all Defendants reside; because a substantial part of the events or
12   omissions giving rise to the claims at issue occurred outside of the United States in the Bahamas,
13   the home of Sam Bankman-Fried and FTX; and because Defendants entered into transactions
14   and/or received substantial profits from those who reside in this District. As established, this district
15   has personal jurisdiction over Defendants, rendering venue here appropriate. Further, Sam
16   Defendants Bankman-Fried and FTX contracted with additional Defendant Golden State Warriors,
17   who is headquartered and conduct business in this district.
18              21.   All conditions precedent to the institution and maintenance of this action have been
19   performed, excused, waived, or have otherwise occurred.
20                                       FACTUAL ALLEGATIONS
21              I.    THE RISE OF FTX
22              22.   In May 2019, former Wall Street trader Defendant Sam Bankman-Fried and ex-
23   Google employee Zixiao “Gary” Wang founded ‘FTX,’ the owner and operator of the FTX.COM
24   cryptocurrency exchange.
25              23.   In little more than two years, by July 2021, the darling startup has reached an
26   astronomical valuation of $18 billion due to raising $900 million during a funding round that
27   included financial support from Wall Street titans like SoftBank Group Corp, venture capital firm
28
                                                    –6–
                                           CLASS ACTION COMPLAINT
           Case
           Case3:22-cv-07336-JSC
                MDL No. 3076 Document
                                 Document
                                      2-8 1Filed
                                             Filed
                                                 02/15/23
                                                   11/21/22Page
                                                            Page148ofof31
                                                                        25



 1   Sequoia Capital, private equity giant Thoma Bravo, Daniel Loeb's Third Point, the Paul Tudor
 2   Jones family, British hedge fund manager Alan Howard, and 50-plus additional investors. The
 3   company reportedly had at the time more than 1 million users and averaged about $10 billion in
 4   trading volume per day, with revenue surging more than tenfold in the past year.
 5              24.   In a mere 3 months, by October 2021, the value of FTX had soared again to $25
 6   billion. This funding round saw an infusion of $420 million from reputable investor institutions and
 7   firms like Ontario Teachers' Pension Plan Board, Temasek, Tiger Global and more than 60 other
 8   investors.
 9              25.   In January 2022, FTX’s smaller related entity, FTX.US, was valued at $8 billion
10   stemming from a $400 million first-round funding from reputable investors like Softbank Group
11   Corp, and Singapore’s Temasek Holdings. Combined, the FTX Entities’ value exceeded $32
12   billion.
13              26.   Flush with cash, the FTX Entities and related companies, continued and even
14   expanded its significant marketing and promotional efforts, as detailed below, to entice consumers
15   from around the world to adopt, use, or otherwise learn about its services and the crypto-industry.
16              27.   The FTX Entities primary product was a platform service provider that served as a
17   mobile application for cryptocurrency investment and allowed users to place cryptocurrency trade
18   orders on behalf of users like Plaintiff and Class and to use interest bearing or yield-bearing
19   accounts (YBA). The trading platform sought to be both user-friendly for first time investors but
20   also with enough robust features for professional traders.
21              28.   At its peak, the FTX.com exchange was extremely successful, and in 2022, around
22   $15 billion in assets were traded daily on the platform, which represented 10% of global volume for
23   crypto trading. This made FTX one of the largest crypto-trading companies in the world. The FTX
24   team had grown to over 300 individuals from all over the globe. Although the FTX Entities’
25   primary international headquarters is in the Bahamas, it maintained a US base of operations in
26   Miami, Florida that significantly affected all parts of the United States, including California.
27

28
                                                    –7–
                                           CLASS ACTION COMPLAINT
           Case
           Case3:22-cv-07336-JSC
                MDL No. 3076 Document
                                 Document
                                      2-8 1Filed
                                             Filed
                                                 02/15/23
                                                   11/21/22Page
                                                            Page159ofof31
                                                                        25



 1          29.     FTX quickly became one of the most utilized avenues for nascent investors to
 2   purchase cryptocurrency. By the time FTX filed for bankruptcy protection in November 2022,
 3   customers had entrusted a purported $10 to $50 billion dollars to the platform.
 4          30.     Defendant Bankman-Fried got rich off FTX (and an intertwined company called
 5   Alameda Research, LLC), with the two companies providing him income of more than $1 billion in
 6   2020 alone.
 7          31.     Before the house-of-cards empire collapsed, Defendant Bankman-Fried reached a
 8   net worth of $26 billion. Bankman-Fried unabashedly used his wealth to become a major political
 9   donor and force, secured celebrity endorsements like Defendant Golden State Warriors named
10   herein, and spent lavish sums of money on not just promotional materials for his companies but for
11   his personal use as well.
12          II.     THE FALL OF FTX
13          32.     In the fall of 2022, trouble began for Defendants Bankman-Fried and FTX. On
14   August 19, 2022, a U.S. bank regulator ordered the FTX platform to halt “false and misleading”
15   information about whether funds at the company were insured by the government (they were not).
16          33.     On November 2, 2022, popular crypto news publication CoinDesk released a
17   devasting report, with leaked financial documents, showcasing that Bankman-Fried’s other
18   company, Alameda Research, was heavily dependent on FTX’s native token, FTT.
19          34.     CEO Changpeng “CZ” Zhao, who oversaw a competitor to FTX in Binance, in
20   learning about the substantial amount that Alameda Research depended on FTT, decided to quickly
21   and politely liquidate holdings of FTT worth more than $500 million. Given CZ’s prominence in
22   the crypto-trading sphere, other consumers quickly followed.
23          35.     FTX saw a staggering $6 billion in withdrawals over 3 days; FTX struggled to fulfill
24   these withdrawals given their speed and volume. As a result of FTX’s situation, the related native
25   coin FTT plummeted nearly a third in value.
26          36.     On November 8, 2022, Defendant Bankman-Fried announced that Binance would
27   come to the rescue and become a white-knight by bailing the company out. However, one day later,
28
                                                   –8–
                                          CLASS ACTION COMPLAINT
          Case
           Case3:22-cv-07336-JSC
                MDL No. 3076 Document
                                 Document
                                      2-8 1 Filed
                                             Filed02/15/23
                                                   11/21/22 Page
                                                             Page1610ofof3125



 1   on November 9, 2022, Binance announced it was withdrawing from the deal citing “due diligence”
 2   concerns and additional reports about mismanagement and mishandling of funds within the FTX
 3   Entities. FTT plunged even faster and even deeper.
 4          37.    On November 11th, unable to obtain a bailout from Binance or others, FTX filed for
 5   Chapter 11 bankruptcy and Bankman-Fried resigned as CEO and in a social media posting, publicly
 6   acknowledged that he had messed up.
 7          III.   ALAMEDA RESEARCH AND THE QUESTIONABLE ROLE IT HAD IN FTX’S COLLAPSE
 8          38.    According to recent reports, another explanation contributing to the precarious
 9   situation the FTX Entities and their trading platform was facing stems from mismanagement of
10   funds. Earlier this year, Bankman-Fried secretly transferred at least $4 billion in customer funds
11   from FTX to Alameda to apparently cover for Alameda after it faced a series of losses. The FTX
12   entities lent as much as $8 billion, of which more than half belong to customers, to Alameda with
13   more than $10 billion in loans still outstanding. Alameda Research has a checkered and conflicting
14   history with Defendant Bankman-Fried.
15          39.    Alameda Research, LLC (“Alameda Research”) is a quantitative trading firm that
16   was founded in November of 2017 by Defendant Bankman-Fried. Quantitative trading consists of
17   trading strategies based on quantitative analysis, which rely on mathematical computations and
18   number crunching to identify trading opportunities.
19          40.    At the time, Defendant Bankman-Fried started moving up to $25 million a day in
20   arbitrage trades (using two or more markets to capitalize on the difference of price on the stock or
21   commodity in different markets) to take advantage of the higher price of Bitcoin in Japan compared
22   to the price in the U.S. The Company earned about $20 million from that arbitrage opportunity.3
23          41.    By 2018, Defendant Bankman-Fried had persuaded Defendant Ellison to join him at
24   Alameda Research. Defendant Ellison described the recruitment as follows: “This was very much
25

26
27   3
      Parloff, Roger. Portrait of a 29-year-old billionaire: Can Sam Bankman-Fried make his risky
28   crypto business work? https://finance.yahoo.com/news/ftx-ceo-sam-bankman-fried-profile-
     085444366.html (Yahoo! Finance, August 12, 2021)
                                                      –9–
                                          CLASS ACTION COMPLAINT
          Case
           Case3:22-cv-07336-JSC
                MDL No. 3076 Document
                                 Document
                                      2-8 1 Filed
                                             Filed02/15/23
                                                   11/21/22 Page
                                                             Page1711ofof3125



 1   like, 'oh, yeah, we don't really know what we're doing,'” Ellison told Forbes magazine in an
 2   interview regarding her initial impressions of Alameda.
 3          42.     In late 2018, the headquarters of Alameda Research was relocated to Hong Kong.
 4   The team at Alameda Research included Defendant Bankman-Fried’s close friends (and later co-
 5   founders for FTX) Nishad Singh and Gary Wang. Defendant Caroline Ellison and Sam Trabucco
 6   were also part of the group and upon moving to Hong Kong the group lived like college students
 7   and fiercely traded crypto.
 8          43.     After Defendant Bankman-Fried established FTX in 2019, Defendant Ellison began
 9   taking more responsibility at Alameda Research along with Sam Trabucco, who served as CEO.
10   Defendant Ellison rose swiftly at Alameda Research, becoming co-CEO of Alameda alongside Sam
11   Trabucco in the summer of 2021.
12          44.     As of August 2021, Bankman-Fried owned approximately 90% of Alameda
13   Research.
14          45.     Between early 2021 and March 2022, Alameda Research amassed crypto tokens
15   ahead of FTX announcing that it would list them, totaling about $60 million worth of tokens in the
16   Ethereum blockchain.4
17          46.     In and around April 2022, Sam Trabucco stepped down as co-CEO of Alameda
18   Research, months before he publicly announced his departure in August, according to a former
19   Alameda employee.5
20          47.     In May and June of 2022, Alameda Research suffered significant losses. Anonymous
21   sources cited by the Wall Street Journal indicated that those losses led to FTX loaning Alameda
22   Research more than half of its customer funds. When Sam Bankman-Fried stated publicly that he
23   made a poor judgment call, the anonymous sources cited by the Wall Street Journal indicated that it
24
     4
25     Ostroff, Caitlin. Alameda Amassed Crypto Tokens Ahead of FTX Listings, Public Data Shows.
     https://www.wsj.com/livecoverage/stock-market-news-today-11-14-2022/card/alameda-amassed-
26   crypto-tokens-ahead-of-ftx-listings-public-data-shows-z6KFN051ToEpFohTXA89 (Wall Street
     Journal, November 14, 2022)
27   5
       Jeans, David, et al. ‘Queen Caroline’: The ‘Fake Charity Nerd Girl’ Behind The FTX Collapse.
28   https://www.forbes.com/sites/davidjeans/2022/11/18/queen-caroline-the-risk-loving-29-year-old-
     embroiled-in-the-ftx-collapse (Forbes Digital Assets, November 18, 2022).
                                                     – 10 –
                                           CLASS ACTION COMPLAINT
          Case
           Case3:22-cv-07336-JSC
                MDL No. 3076 Document
                                 Document
                                      2-8 1 Filed
                                             Filed02/15/23
                                                   11/21/22 Page
                                                             Page1812ofof3125



 1   was a decision to loan funds from FTX to Alameda Research that he was referencing. This conduct
 2   was explicitly forbidden by the terms of service of FTX.6 Some estimates are that Bankman-Fried
 3   secretly transferred at least $4 billion in customer funds from FTX to Alameda to apparently cover
 4   for Alameda after it faced a series of losses. The FTX Entities lent apparently billions to a company
 5   that Defendant Bankman-Fried also owned in the past year. This misconduct and mismanagement
 6   raises significant ethical, legal, and conflicts of interest problems for Defendants.
 7          IV.     YIELD-BEARING ACCOUNTS (YBAS) AND VIOLATIONS OF LAW
 8          48.     Other violations of law stem from FTX’s use of YBAs. Early on in its inception, the
 9   FTX Entities offered interest-bearing cryptocurrency accounts to public investors called yield-
10   bearing accounts (YBAs). Plaintiff and the Class invested in FTX’s YBAs.
11          49.     The YBAs were “securities” as defined by the United States securities laws. The
12   FTX Entities offered variable interest rewards on crypto assets held in the YBAs, which rates were
13   determined by the FTX Entities in their sole discretion. In order to generate revenue to fund the
14   promised interest, the FTX Entities pooled the YBA assets to engage in lending and staking
15   activities from which they derived revenue to pay interest on the YBAs. These activities make the
16   YBAs a “security” under state and federal law.
17          50.     In October 2022, Director of Enforcement of the Texas State Securities Board,
18   Joseph Rotunda, filed a declaration in which he explained how the YBAs are in fact “an offering of
19   unregistered securities in the form of yield-bearing accounts to the residents of the United States.”
20          51.     Mr. Rotunda’s declaration supported the notion that (i) users appear able to
21   download the FTX trading app even when they reside in the United States; (ii) default settings were
22   automatically configured to enable the earning of yield; (iii) FTX may not be fully disclosing all
23   known material facts to clients prior to opening accounts and earning yield, thereby possibly
24   engaging in fraud and/or making offers containing statements that are materially misleading or
25

26
27   6
      Salmon, Brady, FTX's terms-of-service forbid trading with customer funds.
28   https://www.axios.com/2022/11/12/ftx-terms-service-trading-customer-funds (Axios, November 13,
     2022)
                                                  – 11 –
                                       CLASS ACTION COMPLAINT
          Case
           Case3:22-cv-07336-JSC
                MDL No. 3076 Document
                                 Document
                                      2-8 1 Filed
                                             Filed02/15/23
                                                   11/21/22 Page
                                                             Page1913ofof3125



 1   otherwise likely to deceive the public; and (iv) potentially violating securities laws in various
 2   jurisdictions.
 3           V.       LEVERAGING INTERNATIONAL REACH OF GOLDEN STATE WARRIORS TO MARKET
                      FTX’S PLATFORM AND SERVICES
 4
             52.      Defendant Sam Bankman-Fried, along with his company FTX, needed to continue
 5
     growing the userbase for its crypto-trading platform and enlisted, at great expense, some of the
 6
     marquee influencers and talents in the sports, entertainment, and celebrity arenas. These A-list
 7
     celebrities have not only been brand ambassadors for FTX, but some have also invested or sought
 8
     equity as part of his or her compensation. Most of these influencers conducted marketing and
 9
     promotional campaigns for Bankman-Fried and FTX and also further raised awareness and
10
     encouraged the adoption of the FTX platform in social media, interviews, or other direct
11
     engagement channels. As a result of their concerted actions, adoption, use, and money being spent
12
     on the platform rose.
13
             53.      Defendant Bankman-Fried and FTX, in conjunction with the use of A-list celebrities
14
     to promote FTX’s platform and products, also sought a stratospheric rise in publicity and consumer
15
     awareness by spending, again lavishly, on partnerships with sports and entertainment entities like
16
     the Golden State Warriors or slapping their name on an entire NBA arena for the storied Miami
17
     Heat franchise.
18
             54.      These actions had one goal: outcompeting competitor trading platforms and getting
19
     consumers to use the FTX platform technology instead. As then-FTX.US President Brett Harrison
20
     explains, using A-list celebrities and mass branding campaigns would “familiarize consumers with
21
     its technology, customer service and offerings” and with FTX brand. The company “need[ed]” to
22
     attract new consumers to continue funneling them (and the money they put into the FTX system) as
23
     part of an elaborate scheme to prompt up the businesses.
24
             55.      Defendants continued to drive unwitting investors and consumers into a Ponzi-like-
25
     scheme, substantially assisting in the sale of the YBAs, which are unregistered securities. The A-list
26
     celebrity brand ambassadors, including a Defendant herein, made representations, solicitations, or
27
     other forms of promotions.
28
                                                   – 12 –
                                           CLASS ACTION COMPLAINT
          Case
           Case3:22-cv-07336-JSC
                MDL No. 3076 Document
                                 Document
                                      2-8 1 Filed
                                             Filed02/15/23
                                                   11/21/22 Page
                                                             Page2014ofof3125



 1           56.    One of the FTX Entities’ most prominent promotions and marketing efforts involved
 2   the NBA franchise Golden State Warriors (“GSW”). FTX and GSW launched a partnership in 2022
 3   and with it unveiled the FTX logo on the main court at the Chase Center, the GSW’s new $1.4
 4   billion arena. FTX served as GSW’s Official Cryptocurrency Platform and NFT Marketplace, and
 5   to further promote FTX to its avid fanbase, the GSW dropped NFTs on FTX.US beginning in early
 6   2022.
 7           57.    The NBA is one of the most prolific professional sports leagues in the world and the
 8   GSW, with recent championships in 2015, 2017, 2018 and as recently as 2022 gave the franchise,
 9   its arena, and its partnership with FTX unprecedented reach internationally. The partnership
10   between the GSW and FTX marked the first international rights partner for the GSW, meaning the
11   GSW and FTX had a visible market presence, inclusive of logo and likeness, internationally for all
12   of its millions of fans. The partnership deal also included the GSW’s G League affiliate team (Santa
13   Cruz Warriors), the Golden Guardians and Warriors Gaming Squad (affiliated e-sports teams), in-
14   arena signage at Chase Center, and virtual floor signage at GSW games. Millions of consumers, in
15   the United States and most importantly internationally, were exposed to FTX’s branding, marketing
16   materials, and services.
17                                         CLASS ALLEGATIONS
18           58.    As alleged herein, Plaintiff brings this lawsuit on behalf of themselves and all others
19   similarly situated (the “Class”), pursuant to Fed. R. Civ. P. 23(a), (b)(2), (b)(3), and/or (c)(4).
20           I.     CLASS DEFINITION(S)
21           59.    Plaintiff seeks to represent the following Transnational Class: “All persons or
22   entities outside the United States who, within the applicable time period limitations, purchased or
23   enrolled in yield-bearing accounts (“YBAs”) offered by FTX Trading LTD d/b/a FTX’s (“FTX”)
24   and West Realm Shires Services Inc. d/b/a FTX US’s (“FTX US”) (collectively, the “FTX
25   Entities”) and/or otherwise invested in one or more FTX Entities.”
26           60.    The following persons or entities are further excluded from the Class: (i) judicial
27   officers and associated court staff presiding over this case; (ii) past and present officers, directors,
28
                                                    – 13 –
                                            CLASS ACTION COMPLAINT
          Case
           Case3:22-cv-07336-JSC
                MDL No. 3076 Document
                                 Document
                                      2-8 1 Filed
                                             Filed02/15/23
                                                   11/21/22 Page
                                                             Page2115ofof3125



 1   affiliates, representatives, agents and employees to the Defendants, including Defendants
 2   themselves, or any of its direct or indirect subsidiaries; (iii) any immediate family members of the
 3   above two groups; and (iv) all those otherwise in the Class who timely and properly exclude
 4   themselves therefrom in such manner as the Court may direct.
 5          61.      Any notices to the Class(es) directed by the Court shall comply with all provisions of
 6   Rule 23 and applicable court rulings regarding notice(s). Class members may be notified of the
 7   pendency, certification and/or other important steps in this action under Fed. R. Civ. P. 23, as
 8   appropriate, through a Court-approved combination of direct and indirect methods, including print,
 9   broadcast, social media, posting, and other physical and electronic means. All Class members
10   should be identifiable and reachable based on corporate records in the possession, custody and
11   control of Defendants and once made available, Plaintiff anticipates ease of publishing, mailing and
12   emailing notice at minimum.
13          62.      Plaintiff reserves the right to modify or amend the definition of the proposed
14   Transnational Class, or to include additional classes or subclasses, before or after the Court
15   determines whether such certification is appropriate as discovery progresses. Plaintiff seeks
16   certification of the Transnational Class in part because a significant portion of the offers of FTX
17   YBAs to Plaintiff and the Class members (in which Defendants each substantially participated)
18   were made by FTX to persons and entities outside the United States.
19          II.      REQUIREMENTS OF RULE 23(A) MET
20                A. Numerosity
21          63.      The Class is comprised of thousands, if not millions, of consumers internationally, to
22   whom FTX offered and/or sold YBAs. Moreover, thousands, if not millions, of consumers
23   internationally have executed trades on the FTX Platform within the applicable limitations period.
24   Membership in the Classes is thus so numerous that joinder of all members is impracticable. The
25   precise number and nature of class members is currently unknown to Plaintiff but readily
26   identifiable through discovery and review of FTX’s corporate records.
27

28
                                                   – 14 –
                                           CLASS ACTION COMPLAINT
          Case
           Case3:22-cv-07336-JSC
                MDL No. 3076 Document
                                 Document
                                      2-8 1 Filed
                                             Filed02/15/23
                                                   11/21/22 Page
                                                             Page2216ofof3125



 1                B. Commonality and Predominance
 2          64.       Common questions of law and fact predominate over any questions affecting
 3   individual class members. These common legal and factual questions include, but are not limited to,
 4   the following:
 5                a. whether the YBAs were unregistered securities under federal or applicable law;
 6                b. whether Defendants’ participation and/or actions related to FTX’s offerings and
 7                    sales of YBAs violate the provisions of the Securities Act and under federal or
 8                    applicable law;
 9                c. what the type and measure of damages suffered by Plaintiff and the Classes may be;
10                d. whether Plaintiff and Class members have sustained monetary loss and the proper
11                    measure of that loss;
12                e. whether Plaintiff and Class members are entitled to injunctive and/or declaratory
13                    relief;
14                f. whether Plaintiff and Class members are entitled to consequential damages, punitive
15                    damages, statutory damages, disgorgement, and/or other legal or equitable
16                    appropriate remedies as a result of Defendants’ conduct.
17                C. Typicality
18          65.       Plaintiff’s claims are typical of the claims of the members of the Class because all
19   members were injured through the uniform misconduct described above, namely that Plaintiff and
20   the Class were offered and/or sold FTX’s YBAs as a result of Defendants’ actions and/or
21   participation in the offering and sale of these unregistered securities, and Plaintiff is advancing the
22   same claims and legal theories on behalf of themselves and all such members. Further, there are no
23   defenses available to either Defendant that are unique to Plaintiff.
24                D. Adequacy
25          66.       Plaintiff will fairly and adequately protect the interests of the members of the
26   Classes. Plaintiff has retained counsel experienced in complex consumer class action litigation, and
27   Plaintiff intends to prosecute this action vigorously. Plaintiff has no adverse or antagonistic interests
28
                                                      – 15 –
                                              CLASS ACTION COMPLAINT
          Case
           Case3:22-cv-07336-JSC
                MDL No. 3076 Document
                                 Document
                                      2-8 1 Filed
                                             Filed02/15/23
                                                   11/21/22 Page
                                                             Page2317ofof3125



 1   to those of the Classes. Plaintiff anticipates no difficulty in the management of this litigation as a
 2   class action. To prosecute this case, Plaintiff has chosen the undersigned law firms, which have the
 3   financial and legal resources to meet the substantial costs and legal issues associated with this type
 4   of consumer class litigation.
 5                 E. Superiority
 6          67.       A class action is superior to individual actions for the proposed Class, and also
 7   superior to actions outside the United States, in part due to the following factors:
 8                 a. Joinder of all Class members would create extreme hardship and inconvenience for
 9                    the affected customers as they reside across the globe;
10                 b. There are no known individual Class members who are interested in individually
11                    controlling the prosecution of separate actions;
12                 c. The interests of justice will be well served by resolving the common disputes of
13                    potential Class members efficiently in one forum;
14                 d. Extraterritorial litigation will unlikely provide the any, let alone the requested relief
15                    for the proposed Class herein but by contrast, litigation of common questions as a
16                    class action in a single, unitary proceeding will materially advance the disposition of
17                    the litigation and is consistent with the purposes and goals of class actions;
18                 e. Individual suits would not be cost effective or economically maintainable as
19                    individual actions; and
20                 f. The action is manageable as a class action.
21          III.      REQUIREMENTS OF RULE 23(B)(3) MET
22          68.       The questions of law or fact common to Plaintiff’s and each Classes member’s
23   claims predominate over any questions of law or fact affecting only individual members of the
24   Class. All claims by Plaintiff and the unnamed members of the Classes are based on the common
25   course of conduct by Defendants in marketing, offering, and/or selling the YBAs, which are
26   unregistered securities.
27

28
                                                     – 16 –
                                             CLASS ACTION COMPLAINT
          Case
           Case3:22-cv-07336-JSC
                MDL No. 3076 Document
                                 Document
                                      2-8 1 Filed
                                             Filed02/15/23
                                                   11/21/22 Page
                                                             Page2418ofof3125



 1          69.     Common issues predominate when, as here, liability can be determined on a class-
 2   wide basis, even when there will be some individualized damages determinations.
 3          70.     As a result, when determining whether common questions predominate, courts focus
 4   on the liability issue, and if the liability issue is common to the Classes as is in the instant action,
 5   common questions will be held to predominate over individual questions.
 6          IV.     REQUIREMENTS OF RULE 23(B)(2) MET
 7          71.     Alternatively, Plaintiff will seek certification under 23(b)(2) for injunctive and/or
 8   declaratory relief for the Class. Defendants have acted and refused to act on grounds generally
 9   applicable to the classes by engaging in a common course of conduct of aiding and abetting the
10   offering and/or selling the YBAs, which are unregistered securities, thereby making appropriate
11   final injunctive relief or declaratory relief with respect to the classes as a whole.
12          72.     Defendants have acted and refused to act on grounds generally applicable to the
13   classes by engaging in a common course of conduct of uniformly identical and uniform
14   misrepresentations and omissions in receiving secret undisclosed compensation for their promotion
15   of the FTX Entities’ trading platform, thereby making appropriate final injunctive relief or
16   declaratory relief with respect to the classes as a whole.
17          V.      REQUIREMENTS OF RULE 23(C)(4) MET
18          73.     One of the predominant issues regarding Defendants’ liability is whether the YBAs
19   FTX offered and/or sold are unregistered securities in violation of federal and/or applicable law,
20   utilizing Rule 23(c)(4) to certify the Classes for a class wide adjudication on this or other issues
21   would materially advance the disposition of the litigation as a whole.
22          74.     Another predominant issue regarding Defendants’ liability is whether they have
23   violated the consumer protection and securities laws in making identical and uniform
24   misrepresentations and omissions regarding the functionality of the FTX Entities’ trading platform,
25   and utilizing Rule 23(c)(4) to certify the Classes for a class wide adjudication on this or other issues
26   would materially advance the disposition of the litigation as a whole.
27

28
                                                    – 17 –
                                            CLASS ACTION COMPLAINT
          Case
           Case3:22-cv-07336-JSC
                MDL No. 3076 Document
                                 Document
                                      2-8 1 Filed
                                             Filed02/15/23
                                                   11/21/22 Page
                                                             Page2519ofof3125



 1                                          CAUSES OF ACTION
 2                                             COUNT I
       Violation of California’s Unfair Competition Law, Cal. Bus. & Prof. Code § 17200, et seq.
 3
                                (Individually and on Behalf of the Class)
 4
             75.      Plaintiff repeats and realleges each and every allegation contained above, as though
 5
     fully set forth herein.
 6
             76.      The Unfair Competition Law (“UCL”) prohibits any “unlawful, unfair, or fraudulent
 7
     business act or practice.” Cal. Bus. & Prof. Code §17200.
 8
             77.      Defendants unfair and deceptive practices described herein are likely to mislead – and
 9
     clearly have misled – consumers acting reasonably in the circumstances into purchasing YBAs and
10
     transacting with FTX.
11
             78.      Unlawful: Defendants have advertised the Products using false and/or misleading
12
     claims, such that Defendant’s actions as alleged herein violate at least the following laws:
13
             •        The False Advertising Law, California Business & Professions Code §
14
     17500, et seq.
15
             79.      Fraudulent: A practice is “fraudulent” if members of the general public were or are
16
     likely to be deceived. Defendants’ statements regarding the legality, nature and viability of YBAs
17
     are deceptive to the public. Further, Defendant Bankman-Fried and FTX’s operation of FTX and
18
     Ponzi-scheme type behavior is further fraudulent and deceptive to the public related to the viability
19
     and nature of FTX.
20
             80.      Unfair: The UCL gives courts maximum discretion to address improper business
21
     practices that are “unfair” Defendants’ collective conduct with respect to the marketing and sale of
22
     YBAs is unfair because Defendant’s conduct was immoral, unethical, unscrupulous, or substantially
23
     injurious to consumers in inducing them to transact with FTX and purchase YBAs and the utility of
24
     their conduct, if any, does not remotely outweigh the gravity of the harm to its victims. Plaintiff and
25
     the Class would not have transacted with FTX and purchased YBAs had they known that the
26
     statements were misrepresentations and deliberately deceiving.
27

28
                                                   – 18 –
                                           CLASS ACTION COMPLAINT
          Case
           Case3:22-cv-07336-JSC
                MDL No. 3076 Document
                                 Document
                                      2-8 1 Filed
                                             Filed02/15/23
                                                   11/21/22 Page
                                                             Page2620ofof3125



 1           81.     Defendant Bankman-Fried and FTX’s conduct with respect to the operation of FTX is
 2   also unfair because the consumer injury is substantial, not outweighed by benefits to consumers or
 3   competition, and not one that consumers, can reasonably avoid.
 4           82.     The harm suffered by Plaintiff and the Class was directly and proximately caused by
 5   the deceptive and unfair practices of Defendants related to YBAs and the operation of FTX, as
 6   described herein.
 7           83.     In accordance with California Business & Professions Code § 17203, Plaintiff seeks
 8   an order enjoining Defendants from continuing to conduct business through fraudulent or unlawful
 9   acts and practices and to commence a corrective advertising campaign. On behalf of the Class,
10   Plaintiff also seeks an order for the restitution of all monies from the sales of YBAs, which were
11   unjustly acquired through acts of fraudulent, unfair, or unlawful competition.
12
                                                COUNT II
13
         Violation of California’s False Advertising Law, Cal. Bus. & Prof. Code § 17500, et seq.
14                               (Individually and on Behalf of the Class)

15           84.     Plaintiff repeats and realleges each and every allegation contained above, as though

16   fully set forth herein.

17           85.     California’s False Advertising Law (“FAL”) prohibits any statement in connection

18   with the sale of goods “which is untrue or misleading.” Cal. Bus. & Prof. Code § 17500.

19           86.     As set forth herein, Defendants made statements regarding YBAs and FTX that were

20   untrue or misleading. They publicly represented that FTX and YBAs were a viable and safe way to

21   invest in crypto, a statement designed to deceive consumers into investing with FTX.

22           87.     Defendants’ claims that YBAs and FTX were viable and safe for investing in crypto

23   are untrue due to the house of cards nature of FTX’s business and movement of funds, as evidenced

24   by the immense collapse in fall 2022.

25           88.     Defendants knew, or reasonably should have known, that all these claims relating to

26   the viability and safety of YBA and FTX were untrue or misleading. Defendants failed to adequately

27   inform Plaintiff and the Class of the true nature of YBAs and FTX.

28
                                                  – 19 –
                                          CLASS ACTION COMPLAINT
          Case
           Case3:22-cv-07336-JSC
                MDL No. 3076 Document
                                 Document
                                      2-8 1 Filed
                                             Filed02/15/23
                                                   11/21/22 Page
                                                             Page2721ofof3125



 1           89.     When the true nature of FTX and YBAs became publicly known in the fall of 2022,
 2   the immediate public outrage, bankruptcy proceedings, and government investigation reflected the
 3   degree to which consumers and the public at large felt they were deceived by Defendants and FTX’s
 4   business practices.
 5           90.     Plaintiff and members of the Class are entitled to injunctive and equitable relief, and
 6   restitution in the amount of moneys spent on YBAs.
 7
                                                 COUNT III
 8
                                          Fraudulent Concealment
 9                                (Individually and on Behalf of the Class)

10           91.     Plaintiff repeats and realleges each and every allegation contained above, as though

11   fully set forth herein.

12           92.     Defendants omitted an existing fact about FTX and YBAs when it failed to disclose

13   information regarding the true nature of FTX and YBAs.

14           93.     The omission is material because Plaintiff and the Class would not have transacted

15   with FTX had they known true nature of FTX and YBAs

16           94.     Defendants marketed and sold to Plaintiff and the Class despite having knowledge of

17   the true nature of FTX and YBAs.

18           95.     Defendants intended that consumers and purchasers would rely on Defendants’

19   statements regarding the safety and nature of FTX and YBAs to bolster sales.

20           96.     Plaintiff and the Class were not aware of the true nature and safety of YBAs and

21   FTX’s platform and could not reasonably have discovered those true characteristics.

22           97.     Plaintiff and the Class relied on Defendants’ statements in that they paid any amount

23   of money for YBAs, which they would not have done had they known the true risky and Ponzi

24   scheme nature of the products.

25           98.     Plaintiff and the Class had the right to rely on Defendants’ statements and omissions

26   that created the false impression that FTX and YBAs were safe and reliable investment accounts

27   based on reasonable purchaser expectations that the exchange would remain solvent.

28
                                                   – 20 –
                                           CLASS ACTION COMPLAINT
          Case
           Case3:22-cv-07336-JSC
                MDL No. 3076 Document
                                 Document
                                      2-8 1 Filed
                                             Filed02/15/23
                                                   11/21/22 Page
                                                             Page2822ofof3125



 1           99.     Defendants had an affirmative duty to disclose the true nature of FTX and YBAs to
 2   potential purchasers and investors because they were in a superior position to know the true nature of
 3   FTX and YBAs.
 4           100.    Defendants fraudulently concealed the nature of FTX and YBAs, causing damages to
 5   Plaintiff and the class.
 6

 7                                               COUNT IV
                                              Civil Conspiracy
 8
                                  (Individually and on Behalf of the Class)
 9
             101.    Plaintiff repeats and realleges each and every allegation contained above, as though
10
     fully set forth herein.
11
             102.    Defendants made innumerable misrepresentations and omissions to Plaintiff and
12
     Class Members regarding the nature and safety of FTX and YBAs in order to induce confidence in
13
     the platform and convince consumers to invest in what was a patently misleading and deceptive
14
     scheme, thus deceiving consumers and potential customers that their investments in FTX were safe.
15
             103.    FTX and Defendant Sam Bankman-Fried entered into at least one agreement with
16
     the other Defendants for the express purpose of making misrepresentations or omissions in order to
17
     induce and convince Plaintiff and consumers to invest in YBAs and put their money in FTX.
18
             104.    Defendants engaged in concerted unlawful acts, particularly in the form of
19
     misrepresentations and omissions made to Plaintiff and the Class for the purposes of inducing them
20
     to invest with FTX and in YBAs.
21
             105.    The conspiracy substantially aided the wrongdoing conducted by FTX and
22
     Defendant Sam Bankman-Fried. Additionally, the non-FTX Defendant had knowledge of the fraud
23
     and wrongdoing by FTX as a result of their experience and relationship with FTX, and thus knew or
24
     should have known that the representations they made were deceitful and fraudulent.
25
             106.    This conspiracy caused damages to Plaintiff and the Class in the amount of the
26
     money they invested in FTX that was lost as a result of the insolvency.
27

28
                                                  – 21 –
                                          CLASS ACTION COMPLAINT
          Case
           Case3:22-cv-07336-JSC
                MDL No. 3076 Document
                                 Document
                                      2-8 1 Filed
                                             Filed02/15/23
                                                   11/21/22 Page
                                                             Page2923ofof3125



 1                                                  COUNT V
                                Declaratory Judgment, Cal. Code Civ. Proc. § 1060
 2
                                     (Individually and on Behalf of the Class)
 3
             107.       Plaintiff repeats and realleges each and every allegation contained above, as though
 4
     fully set forth herein.
 5
             108.       This Count is asserted against all Defendants under Cal. Code Civ. Proc. § 1060.
 6
             109.       There is a bona fide, actual, and present need for the declaratory relief requested
 7
     herein; the declaratory relief prayed for herein deals with a present, ascertained or ascertainable
 8
     state of facts and a present controversy as to that state of facts; contractual and statutory duties and
 9
     rights are dependent on those facts and law applicable to the facts; the parties have an actual,
10
     present, adverse, and directly antagonistic interest in the subject matter; and the antagonistic and
11
     adverse interests are all before this Court by proper process for final resolution.
12
             110.       Plaintiff and the Class have an obvious and significant interest in the outcome of this
13
     lawsuit.
14
             111.       Plaintiff and the Class purchased YBAs and invested with FTX, based in part oon
15
     justifiable reliance on Defendants’ statements and misrepresentations regarding the nature of YBAs
16
     and the FTX platform.
17
             112.       If Plaintiff and the Class knew the true facts surrounding YBAs and FTX, including
18
     but not limited to that YBAs are unregistered securities, Plaintiff and the Class would not have
19
     purchased YBAs or invested with FTX in the first place.
20
             113.       Thus, there is a justiciable controversy over whether the YBAs were sold illegally
21
     and whether the Defendants illegally solicited their purchase from Plaintiff and the Class.
22
             114.       Plaintiff and the Class thus seek an order declaring that the YBAs were unregistered
23
     securities and needed to be registered with the SEC and state regulatory authorities, that FTX did
24
     not work as represented, and that Defendants were paid to misrepresent FTX and YBAs to the
25
     nation at large.
26
27

28
                                                      – 22 –
                                              CLASS ACTION COMPLAINT
         Case
          Case3:22-cv-07336-JSC
               MDL No. 3076 Document
                                Document
                                     2-8 1 Filed
                                            Filed02/15/23
                                                  11/21/22 Page
                                                            Page3024ofof3125



 1                                        PRAYER FOR RELIEF
 2         WHEREFORE, Plaintiff prays for a judgment on behalf of themselves and the Class(es):
 3            a. Certifying the proposed Class(es) as requested herein;
 4            b. Awarding actual, direct and compensatory damages;
 5            c. Awarding restitution and disgorgement of revenues if warranted;
 6            d. Awarding declaratory relief as permitted by law or equity, including declaring the
 7                Defendants’ practices as set forth herein to be unlawful;
 8            e. Awarding injunctive relief as permitted by law or equity, including enjoining the
 9                Defendants from continuing any unlawful practices as set forth herein, and directing
10                the Defendants to identify, with Court supervision, victims of their conduct and pay
11                them all money they are required to pay;
12            f. Awarding statutory and multiple damages, as appropriate;
13            g. Awarding attorneys’ fees and expenses; and
14            h. Providing any such further relief as the Court deems just and proper
15

16                                       JURY TRIAL DEMAND
17         Plaintiff hereby demands a jury trial as to all claims so triable.
18

19   Dated: November 20, 2022                          Respectfully submitted,
20                                               By:      s/ William Audet
21
                                                       William M. Audet (CA SBN 117456)
22                                                     Ling Y. Kuang (CA SBN 296873)
                                                       Kurt D. Kessler (CA SBN 327334)
23                                                        waudet@audetlaw.com
                                                          lkuang@audetlaw.com
24                                                        kkessler@audetlaw.com
                                                       AUDET & PARTNERS, LLP
25                                                        711 Van Ness Avenue, Suite 500
                                                          San Francisco, CA 94102-3275
26                                                        Telephone:     (415) 568-2555
                                                          Facsimile:     (415) 568-2556
27
                                                    Robert L. Lieff (CA SBN 037568)
28                                                     rlieff@lieff.com
                                                       P.O. Drawer A
                                                  – 23 –
                                          CLASS ACTION COMPLAINT
     Case
      Case3:22-cv-07336-JSC
           MDL No. 3076 Document
                            Document
                                 2-8 1 Filed
                                        Filed02/15/23
                                              11/21/22 Page
                                                        Page3125ofof3125



 1                                          Rutherford, California 94573
 2                                       Edward LEHMAN (IL SBN 6194489)*
                                            elehman@lehmanlaw.com
 3                                       Jacob BLACKLOCK (TX SBN 24079835)*
                                            jblacklock@lehmanlaw.com
 4                                       LEHMAN, LEE & XU LLC (Saipan #25977-001-1)
                                            c/o LEHMAN, LEE & XU
 5                                          Suite 3313, Tower One, Times Square
                                            1 Matheson Street, Causeway Bay, Hong Kong
 6                                          Telephone:    (852) 3588-2127
                                            Facsimile:    (852) 3588-2088
 7
                                         *Pro hac vice forthcoming
 8
                                         Counsel for Plaintiff Elliott Lam, individually
 9                                       and on behalf of all others similarly situated
10

11

12

13

14

15

16

17

18

19

20
21

22

23

24

25

26
27

28
                                       – 24 –
                               CLASS ACTION COMPLAINT
